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           IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF OHIO
                     EASTERN DIVISION


 Nathan Roberts and Freedom Truck
 Dispatch LLC, on behalf of themselves
 and all others similarly situated,

                        Plaintiffs,
                                                 Case No. 1:23-cv-01597
 v.

 Progressive Preferred Insurance
 Company, et al.

                        Defendants.


      AFFIDAVIT OF JONATHAN F. MITCHELL IN SUPPORT OF
            MOTION FOR ADMISSION PRO HAC VICE
      Jonathan F. Mitchell appeared in person before me today and stated under oath:
      1.   My name is Jonathan F. Mitchell. I am principal at Mitchell Law PLLC.
      2.   My business address is 111 Congress Avenue, Suite 400.
      3.   I am a member in good standing of the Texas bar.

      4.   I have attached a current certificate of good standing from the Supreme
Court of Texas, dated August 16, 2023.
      5.   I was admitted to the Texas bar on December 9, 2010.
      6.   My Texas bar-identification numbers is 24075463.
      7.   I have never been disbarred or suspended from practice before any court,
department, bureau or commission of any State or the United States. Nor have I been
reprimanded by any court, department, bureau or commission pertaining to my
conduct or fitness as a member of the bar.
      8.   I respectfully request pro hac vice admission in this matter.




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    This concludes my sworn statement. I swear under penalty of perjury that, to the
best of my knowledge, the facts stated in this affidavit are true and complete.




Texas                                      J F. M
Fort Bend County

Subscribed and sworn to me
     08/16/2023
on _____________________







                                         Notarized online using audio-video communication




                                                           Page  of 2
